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 1   Claude J. Chauveau
 2   67 East 11th Street, Suite 408
     New York, New York 10003
 3   Tel: (503) 781-0901
     Email: cjc@a-g-finance.com
 4   Acting As Attorney Pro Se
 5

 6   Bernd H. Weber
     Suite 702
 7   55 Kingsbridge Garden Circle
     Mississauga, Ontario, L5R 1Y1
 8   Tel: (905) 502-0700
     Email: agfinance@a-g-finance.com
 9   Acting As Attorney Pro Se
10

11

12                                     UNITED STATES DISTRICT COURT
                                            DISTRICT OF OREGON
13
     MELLAND GROUP, LLC d/b/a          )                                                            No. CV08-957-AC
14   nTRUST,                           )
                                       )
     an Oregon limited liability company,
15
     and ALLAIN DE LA MOTTE,           )
16                                     )
                        PLAINTIFFS     )
17                                     )                           Defendants' Response To Declarations
                 v.                    )                              of Jon S. Crouse And Brad Henshaw
18                                     )                          Filed In Support of Plaintiffs' Motion For
     BERND H. WEBER, CLAUDE J.         )                                            Preliminary Injunction
19   CHAUVEAU, AMERICAN GULF FINANCE )
     CORP., ALVION PARTNERS, LLC,      )
20
     WEBER, LLC, AGF REALTY SOLUTIONS, )
     INC., ALEXON HOLDINGS
21                                     )
     INTERNATIONAL LTD., TIMEDATA
     CORPORATION, TIME DATA HOLDINGS,
                                       )
22                                     )
     LLC, and DOES 1-10,
                                       )
23
                        DEFENDANTS     )
24                                     )

25

26

27

28
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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     TO THE HONORABLE UNITED STATES DISTRICT COURT:
 1

 2   Defendant Weber and Defendant Chauveau (together “Defendants”) file this Response
 3   To The Declarations Of Jon S. Crouse And Brad Henshaw Filed In Support Of Plaintiffs’

 4   Motion For Preliminary Injunction Under Seal [Docket #47 and #48, respectively] as per
     Plaintiffs’ Unopposed Motion to File Documents Under Seal, filed by Plaintiffs (Docket
 5
     #35) and respectfully show the following:
 6

 7   Defendants’ Response To Jon S. Crouse’s Declaration

 8
     1.     The declaration of Mr. Crouse was issued under penalty of perjury on December 1,
 9
            2008. The Declaration and its Exhibits are of no relevance to the proceedings
10
            before this Honorable Court as the Declaration neither contains any proprietary or
11
            confidential information or trade secret information belonging to the Plaintiffs not
12
            otherwise publicly available or lawfully obtained, nor does the Declaration provide
13
            any evidence of any wrongful infringement of the Plaintiffs’ alleged proprietary or
14
            confidential technology, nor any allegations of any wrongdoings of Defendants
15
            relevant to the proceedings before this Honorable Court.
16

17
     2.     Furthermore, and for the record, Defendants never requested Mr. Crouse to
18
            irrevocably assign substantial assets to Defendant Weber. Such request never
19
            existed and defies any logic. Instead, an irrevocable assignment to the referenced
20
            Trust in exchange for an equal value of trust notes was contemplated. The false
21
            statement of Mr. Crouse that “Weber” (instead of the Trust under SOLE control of
22
            an institutional trustee) “would return the assets to Mr. Crouse at any time upon his
23
            request” is utter nonsense. No banking institution in its right mind would ever
24
            engage in a long-term financing transaction if the underlying collateral could be
25
            subject to a return to the depositors “at any time”. Knowing this, such a statement
26
            could only have been made by Mr. Crouse at the clever behest of Plaintiffs’
27
            attorneys preparing this declaration to mislead the Honorable Court with the
28
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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 1          dubious intent of supporting the Plaintiffs’ fraudulent allegations in this proceeding,

 2          and to support the false allegations of other aiding and abetting Plaintiffs in another

 3          currently pending related case filed in the Middle District of Tennessee (3:08-cv-

 4          00866 Alvion Properties, Inc. et al v. Weber et al).

 5
     3.     Furthermore, it should be brought to the attention of this Honorable Court that Mr.
 6
            Crouse, amongst other deliberately false statements made to this Honorable Court,
 7
            Mr. Crouse intentionally (mens rea) and actually (actus reus) commits an act of
 8          perjury, designed to mislead the Honorable Court and meant to slander the good
 9          character of Defendant Weber and his defense witness Mr. Donald C. Rishell. For
10          the record, Mr. Crouse was made aware of Mr. Rishell’s prior criminal record

11          before he entered into the business relationship with AGF Realty Solutions LLC.
            Defendants submit the affidavits of Mr. Christopher Bolser, dated October 3, 2008
12
            [Exhibit D, Defendants’ Motion to Unseal the Declarations of Brad Henshaw
13
            and Jon S. Crouse Filed In Support of Plaintiffs’ Motion for Preliminary
14          Injunction, filed concurrently and incorporated herewith by reference] and of Mr.
15          John Dreckman, dated October 9, 2008 [see Exhibit C, Defendants Motion to
16          Unseal the Declarations of Brad Henshaw and Jon S. Crouse Filed In Support
            of Plaintiffs’ Motion for Preliminary Injunction, also filed concurrently and
17
            incorporated herewith by reference], which directly controvert Mr. Crouse’s false
18
            declarative testimony. To the contrary, Mr. Crouse entered into a Consulting
19
            Agreement with AGF Realty Solutions LLC on October 11, 2007. Mr. Crouse then
20          enjoyed the professional services of AGF Realty Solutions LLC as set forth in the
21          Consulting Agreement without honoring his financial obligations set forth in said
22          agreement while accruing over $165,000 worth of consulting services which have
            not been paid to-date. Then almost one year later, Mr. Crouse self-servingly
23
            elected on September 25, 2008 to abruptly end his business obligations by falsely
24
            alleging “Defendant Weber and Mr. Rishell had not informed him of Mr. Rishell’s
25
            prior criminal record” [see ¶13, Declaration of Jon S. Crouse In Support of
26          Plaintiffs’ Motion For Preliminary Injunction]. Mr. Crouse intentionally lies to the
27          Honorable Court and is aiding and abetting Plaintiffs by making such false

28          statement.
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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 1

 2   4.     Mr. Crouse further lies to this Honorable Court in ¶13 of his Declaration, ibid, when

 3          he testifies that he met with Mr. Fisher in the presence of witnesses on October 30,

 4          2007 and that Defendant Weber misrepresented his prior business dealings with

 5          Mr. Fisher. Again, to the contrary, Mr. Crouse only met Mr. Fisher once and was

 6          properly informed at that time both about Mr. Rishell’s prior criminal record and Mr.

 7          Weber’s prior business dealings with Mr. Fisher. As previously evidenced by the

 8          affidavits of Mr. Dreckman and Mr. Bolser, Mr. Rishell informed Mr. Crouse of his

 9          criminal record prior to June 23, 2007, after which date Mr. Crouse willfully entered

10          into a Consulting Agreement with AGF Realty Solutions LLC on October 11, 2007,

11          as presented by Defendants. Yet again, despite of the fact that Mr. Crouse was

12          aware of Defendant Weber’s business associate Mr. Donald C. Rishell’s criminal

13          record since June 23, 2007, Mr. Crouse falsely testifies under penalty of perjury

14          that he terminated his business relationship more than one year later on

15          September 25, 2008, “on the grounds that the prior criminal record of Defendant

16          Weber’s business associate Mr. Donald C. Rishell” had not been revealed to him.

17          The affidavits of Mr. Bolser and Mr. Dreckman fully dispute these untruthful

18          statements.

19

20   5.     Given the facts, Defendants have good reason to conclude that Mr. Crouse abuses

21          this Honorable Court and dishonestly seeks to create a corrupt impression of

22          Defendant Weber to avoid having to make good on his over-due consulting

23          payments to AGF Realty Solutions LLC, which he previously accepted as having

24          been satisfactorily rendered under the terms of his Consulting Agreement with AGF

25          Realty Solutions LLC and to aid and abet Plaintiffs in their malicious action against

26          Defendants.

27

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     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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 1   6.     It goes without saying that Mr. Crouse’s perjury is a serious offense, since his

 2          statements are intended to surreptitiously bias and usurp the power of the

 3          Honorable Court to obtain a miscarriage of justice. Mr. Crouse received copies of

 4          the two aforementioned exhibits [Exhibit C and D, filed with Defendants’ Motion

 5          to Unseal the Declarations of Brad Henshaw and Jon S. Crouse Filed In

 6          Support of Plaintiffs’ Motion for Preliminary Injunction] on November 19,

 7          2008, via email, telefax and registered letter. Yet, approximately ten days later on

 8          December 1, 2008, he still chose to misrepresent to the Honorable Court his pre-

 9          existing knowledge of the facts. It is clear that Mr. Crouse made these false

10          statements of material fact willfully and intentionally to unfairly prejudice this judicial

11          proceeding against the Defendants. He therefore knowingly perjures himself, and

12          the Court should sanction him appropriately for such perjury.

13
     Defendants’ Response To Brad Henshaw’s Declaration
14

15   7.     The published Privacy Policy of Farmers State Bank (“FSB”), the employer of Mr.
16          Henshaw, states that “nonpublic personal information means information about a
17          customer that the bank collects in connection with providing a financial product or

18          service to the customer”, and further: “We will not disclose nonpublic personal
            information about you to anyone except as disclosed in this policy or as permitted
19
            by law”.
20

21   8.     Defendant Weber, directly and through Alvion Partners LLC, unrelated to the
22          banking relationship that FSB maintains independently with Alvion Properties, Inc.,
23          established a customer relationship with a high-level of implied and expected

24          confidentiality which under the Illinois Banking Act did a not require a confidentiality
            agreement to be executed. Defendant Weber entrusted FSB officer Henshaw with
25
            certain financial and business confidential information that Mr. Henshaw solicited
26
            and welcomed in order to evaluate whether or not to provide the bank’s financial
27          services to Alvion Partners, LLC. Defendant Weber also is a personal guarantor of
28
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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            a $1 million mortgage and line of credit which Defendant Weber helped to facilitate
 1
            with FSB for the benefit of Alvion Properties, Inc., from which the Plaintiffs were
 2
            paid $595,000 under an advance fee scheme under which the Plaintiffs’ failed to
 3          perform as represented [see Declaration of Bernd H. Weber In Opposition of
 4          Plaintiffs’ Motion For Preliminary Injunction, filed concurrently herewith].
 5

 6   9.     In addition to Mr. Henshaw’s verbal undertakings to maintain confidentiality of
            information exchanged, Defendant Weber relied on the fact that FSB would comply
 7
            with the rules and regulations of its various regulatory bodies. Amongst other laws,
 8
            FSB is financially regulated by the (205 ILCS 5/) Illinois Banking Act.
 9

10   10. More specifically, in regard to the disclosure of customer financial information,
11          Section 48.1 of the Act provides that except as provided in the Act, a bank may not

12          disclose to any person except to the customer or his duly authorized agent any
            financial records or financial information obtained from financial records relating to
13
            that customer of that Bank, unless the customer has authorized the disclosure, or
14
            the financial records are disclosed in response to a lawful subpoena, summons,
15          warrant or court order.
16

17   11. Defendant Weber never received any request from Mr. Henshaw and/or FSB that
            sought such authorization for the disclosure of any information confidentially
18
            submitted to FSB, nor has Defendant Weber ever authorized such disclosure.
19
            Hence, Mr. Henshaw in his position as a senior officer of FSB had no fiduciary duty
20
            to disclose the information in his Declaration to this Honorable Court, or to any third
21          parties such as the Plaintiffs, in absence of any lawful subpoena, summons,
22          warrant or court order.

23
     12. As a result, and even if the information contained in Mr. Henshaw’s Declaration
24
            and its Exhibits are taken to be truthful, which Defendants contend are in fact not
25
            truthful and are being provided to factually mislead and confuse the Honorable
26
            Court, the declaration of Mr. Henshaw and its exhibits should not be not permitted
27          as sealed evidence to this Honorable Court as this information was obtained in
28
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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            breach of current banking laws governing FSB and Mr. Henshaw, and it should be
 1
            exposed for what it is..
 2

 3   13. Defendant Weber furthermore emphatically denies that he has ever claimed to
 4          have invented, talked about, discussed, or given a presentation to anyone,
 5          including Mr. Henshaw, regarding an alleged investment technology referred to as

 6          the “card game”, allegedly invented by Melland and/or Mr. Allain de la Motte.
            Defendant Weber once observed Mr. Allain de la Motte presenting his so-called
 7
            “card game technology” to a third party and came to the only determination
 8
            possible: the alleged technology is utter nonsense and not implementable in
 9          regulated financial markets. As a result, Defendant Weber would have had
10          absolutely no motivation to present such “technology” to anyone. Mr. Henshaw
11          disrespects this Honorable Court and has committed perjury in his declaration,

12          attempting to aid and abet his long term banking clients Medley, Reynolds and
            Alvion in their actions against Defendants, by claiming that Defendant Weber
13
            presented the Plaintiffs’ alleged “card game” investment technology to him in
14
            March 2008 or at any other time.
15

16   14. Plaintiffs’ counsels are knowingly supporting these wrongful acts. Plaintiffs’
17          counsels drafted and issued both the declaration of Mr. Henshaw and Mr. Crouse,
            as evidenced by the consecutive numbering on the respective declarations on the
18
            bottom of each page and then forwarded the signature page to Messrs. Henshaw
19
            and Crouse, which explains the blurred last page of each declaration as a result of
20
            the scanning process. The Defendants contend the chosen wordings of the two
21          declarations are not the words of Messrs. Henshaw and/or Crouse, (even though
22          they both “declare under penalty of perjury that the foregoing is true and correct to

23          the best of their knowledge and belief”), but rather are carefully crafted testimonies
            designed by Plaintiffs’ counsels to mislead this Honorable Court to support, aid and
24
            abet Plaintiffs’ frivolous and malicious complaint.
25

26
     15. In conclusion, Defendants pray this Honorable Court will (a) cause the necessary
27          actions required to address Mr. Henshaw’s unauthorized disclosure of privileged
28          information in breach of the Illinois Banking Act, and (b) to consequently unseal the
     Defendants' Response To Declaration of Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For
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            Declaration of Mr. Henshaw and its exhibits and make them publicly available.
 1
            Defendants also pray this Honorable Court will (a) cause the necessary actions
 2
            required to address the perjury intentionally committed by Mr. Crouse, (b) to unseal
 3          the Declaration of Mr. Crouse and its exhibits and make them publicly available,
 4          and (c) sanction Plaintiffs and their counsels under FRCP 11(b) for having filed this
 5          malicious and frivolous lawsuit against the Defendants and to still pursue this

 6          Complaint against better knowledge.

 7

 8
     Respectfully submitted,
 9
                                                        /s/ Claude J. Chauveau
10                                                      Claude J. Chauveau, Pro Se
                                                        67 East 11th Street, Suite 408
11                                                      New York, New York 10003
                                                        Tel: (503) 781-0901
12                                                      Email: cjc@a-g-finance.com
13
                                                        /s/ Bernd H. Weber
14                                                      Bernd H. Weber, Pro Se
                                                        Suite 702
15                                                      Email: agfinance@a-g-finance.com
                                                        55 Kingsbridge Garden Circle
16                                                      Mississauga, Ontario L5R 1Y1
17
                                                        Dated: December 21, 2008
18

19

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                                              CERTIFICATE OF SERVICE
 1

 2
     I hereby certify that a true and accurate copy of the Defendants' Response To Declarations of
 3   Jon S. Crouse And Brad Henshaw Filed In Support of Plaintiffs' Motion For Preliminary
     Injunction was filed with the Office of the Clerk of the Court of the United States District Court
 4   for the District of Oregon using the CM/ECF system, pursuant to the Local Rules of the District
     of Oregon on December 30, 2008. (Previous attempts to file the document(s) on December 21,
 5   2008 and December 22, 2008 failed due to weather-related server problems as reported by the
     Court. Consequently, the Court granted Defendants permission to file the attached no later than
 6   December 30, 2008.)

 7   and by electronic transmission to:
 8   Lawrence H. Reichman, OSB No. 860836
     LReichman@perkinscoie.com
 9   Nicholle Winters, OSB No. 054155
     NWinters@perkinscoie.com
10   PERKINS COIE LLP
     1120 N.W. Couch Street, Tenth Floor
11
     Portland, OR 97209-4128
12   Telephone: 503.727.2000
     Facsimile: 503.727.2222
13
     Howard Skaist, Esq., OSB No 883482
14   hskaist@bltg-ip.com
     Katherine Ford Horvath, Esq. (admitted pro hac vice)
15   khorvath@bltg-ip.com
     BERKELEY LAW AND TECHNOLOGY GROUP LLP
16   17933 Evergreen Parkway, Suite 250
     Beaverton, OR 97006-7660
17   Telephone: 503.439.6500
     Facsimile: 503.439.6558
18
     Richard L. Coffman, Esq. (admitted pro hac vice)
19   THE COFFMAN LAW FIRM
     First City Building
20   505 Orleans St., Ste. 505
     Beaumont, TX 77701
21   Telephone: (409) 833-7700
     Facsimile: (866) 835-8250
22   rc@cofflaw.com
23

24                                                                           /s/ Claude J. Chauveau
                                                                             Claude J. Chauveau, Pro Se
25                                                                           67 East 11th Street, Suite 408
                                                                             New York, New York 10003
26                                                                           Tel: (503) 781-0901
                                                                             Email: cjc@timedatacorp.com
27

28   CERTIFICATE OF SERVICE - Defendants' Response To Declarations of Jon S. Crouse And Brad Henshaw Filed In Support of
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